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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

United States of America,                                  Civ. No. 25-48 (PAM/DLM)

                       Plaintiff,

v.                                                                             ORDER

City of Minneapolis,

                       Defendant.



      This matter is before the Court on the United States of America’s Motion to

Dismiss under Fed. R. Civ. P. 41(a)(2). (Docket No. 59.)

      Accordingly, IT IS HEREBY ORDERED that:

      1.     The United States’s Motion to Dismiss (Docket No. 59) is GRANTED and

             this          matter   is      DISMISSED           with         prejudice; 1

      2.     The parties’ joint Motion for Approval of Settlement (Docket No. 2) is

             DENIED as moot; and

      3.     The Police Officers Federation of Minneapolis’s Motion to Intervene

             (Docket No. 20) is DENIED as moot.

LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: May 27, 2025                                  s/ Paul A. Magnuson
                                                     Paul A. Magnuson
                                                     United States District Court Judge
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   The Court seriously questions whether this lawsuit presented any case or controversy to
resolve because the United States and the City were not adverse. See United States v.
Johnson, 319 U.S. 302, 304 (1943). When “both litigants desire precisely the same
result . . . . There is, therefore, no case or controversy within the meaning of Art. III of
the Constitution.” Moore v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 47, 48 (1971).
Thus, the Court doubts whether the parties have standing.
        Beyond whether this matter comports with Article III, the Court has grave
misgivings about the proposed consent decree serving the public interest. To begin, the
proposed consent decree is structured so that the legislature and City executives can
blame the Court for any Minneapolis Police Department (“MPD”) shortcoming or failure
in the City’s response to crime, avoiding accountability and responsibility for the City’s
problems.
        Another concern regarding the proposed consent decree’s design is the omission
of critical information, despite repeatedly emphasizing the need for transparency to
increase citizens’ trust in the MPD. It states that the United States has “reasonable cause
to believe that the City and MPD engage in a pattern or practice of conduct that deprives
people of rights protected by the United States Constitution and federal law.” (Consent
Decree (Docket No. 2-1) ¶ 2.) Yet, the DOJ’s investigation report and the proposed
consent decree do not include data reflecting the number or frequency of the City or
MPD’s alleged violations of the law. Without that information, no court could evaluate
whether the proposed consent decree sufficiently addresses the Complaint’s allegations.
        Further, the proposed consent decree is superfluous because in July 2023, the City
and MPD entered into a similar agreement with the Minnesota Department of Human
Rights. Indeed, as the parties concede, the state agreement includes many plans
discussed in the proposed consent decree and the City is already implementing others on
its own initiative.
        Finally, in the Court’s view, the considerable sum of taxpayer money allocated for
the proposed consent decree’s oversight and execution, including paying the monitor
$750,000 per year, would better fund hiring police officers to bolster the City’s dwindling
police force and promote public safety.




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